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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   AVERITT EXPRESS, INC.,

         Plaintiff.

   v.                                                No. 4:20-cv-1362-P

   KYLE M. AVERITT ET AL.,

         Defendants.

        ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
          RECOMMENDATION OF THE UNITED STATES
                   MAGISTRATE JUDGE
       The United States Magistrate Judge made Findings, Conclusions,
   and a Recommendation in this case. ECF No. 29. No objections were
   filed, and the Magistrate Judge’s Recommendation is ripe for review.
   The District Judge reviewed the proposed Findings, Conclusions, and
   Recommendation for plain error. Finding none, the undersigned District
   Judge believes that the Findings and Conclusions of the Magistrate
   Judge are correct, and they are accepted as the Findings and
   Conclusions of the Court.

     It is therefore ORDERED that Plaintiff Averitt Express, Inc’s
   Motion for Finding of Contempt (ECF No. 23) should be, and is hereby,
   GRANTED.

      It is further ORDERED that the Court sets a SHOW CAUSE
   hearing at 8:30 a.m. on Tuesday, December 14, 2021 in the Fourth
   Floor Auxiliary Jury Room of the Eldon B. Mahon United States
   Courthouse at 501 W. Tenth Street, Fort Worth, Texas 76102.

      At the hearing, the undersigned will hear the evidence as to the
   conduct complained of and, if it is such as to warrant punishment,
   punish such person in the same manner and to the same extent as for a
   contempt committed before a district judge, including, but not
   necessarily limited to: (1) requiring Defendants to fully comply with the
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   permanent injunction set forth in the March 15, 2021 Default Judgment
   and Order (ECF No. 16); (2) reimbursing, after submission of detailed
   specification of the requested fee award with appropriate affidavits or
   other supporting documentation, Plaintiffs attorneys’ fees and costs that
   are causally related to Plaintiffs Motion for Order to Show Cause and
   Finding of Contempt as well as Defendants failure to attend the
   November 2, 2021 show cause hearing; and (3) awarding such other
   relief to which Plaintiffs may be entitled to or that may be necessary to
   enforce this Court’s orders.

      SO ORDERED on this 23rd day of November, 2021.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE
